                     Case 3:04-cr-00351-ADC                 Document 627             Filed 07/06/07       Page 1 of 5
qAO 2458      (Rev.06/05)Judgmentin a CriminalCase
              Sheet1



                                     UurBo SreresDrsrnrcrCounr
                       FORTHE                                 Districtof                               PUERTORICO
         UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                           v.
            LUIS DE PAULA-CORDERO                                                                              (12)(sEC);
                                                                                                       04-cR-3s1
                  aMa "Anthony"                                                                                (01XDRD);
                                                                                                       06-cR-262
                   alWa"Fito"                                         CaseNumber:                              (03XGAG)
                                                                                                       06-cR-263
                                                                      USM Number:                      24300-069
                                                                      LORENZOJ. PALOMARES
                                                                      Defendant's Attomev
THE DEFENDANT:
X pleadedguilty to count(s)      ONE (1) on January19,2007for thethreeIndictments.
E pleadednolo contendereto count(s)
  which was acceptedby the court.

E was found guilty on cour (s)
  after a plea ofnot guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section               Nature of Offense                                                        Offense Ended            Count
1 8 : 1 9 5(6h )              CONSPIRACYTO COMMIT MONEY LALTNDERING                                     August 2004               I
                              A CLASS'C" FELONY.




      The defendant is sentenced as provided in pages 2 through             5        of this judgment. The sentenceis imposedpursuantto
the SentencingReform Act of 1984.

! The defendant has been found not guilty on count(s)

X Count(s)              REMAINING                    E is     X are dismissed on the motion of the United States.

         lt is orderedthat the defendantmust notify the United Slalesattomey for this disrict within 30 davs ofanv chanseofname. residence-
or mailing.address until all fines. restinrri-on..costs.                 imlrosedby thisj udgmentare fufiy paid.' lfordEred to pay restirurion.
                                                     ind specialassessments.
tne oelencart musl nonry me coun and uruted shtes attomey ot rultenal changesm economlc crcumstances.

                                                                      Iulv 6.200'l
                                                                      Date of lmposition of Judgment



                                                                      S/ Salvador F- Casellas
                                                                      Signature
                                                                              ofJudge




                                                                      SALVADORE. CASELLAS.U.S.DISTRICTruDGE
                                                                      Name and Title of Judge



                                                                      Julv6. 2007
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                                                                                                       Judgmenr- Page -.Z_    5
DEFENDANT:                  LUIS DE PAULA.CORDERO
CASENUMBER:                 04-CR-35l(l2XSEC);06-CR-262
                                                      (01)(DRD);06-cR-263
                                                                        (03XGAG)

                                                             IMPRISONMENT
            The defendantis hereby corunitted to the custody ofthe United StatesBureau ofPrisons to be imprisoned for a
total term of:


                                        SEVENTY (70) MONTHS for the three criminal cases.



           The coud makesthe following recommendations
                                                     to the BureauofPrisons:




     X     The defendant is remanded to the custody ofthe United States Marshal.

      !    The defendant shall surrender to the United States Marshal for this district:
           T - -
                                                !     a.m.     I    p.1n.    on

           I       as notifred by the United States Marshal.

      tr   The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

           tr      before2 p.m.
           I       as notifred by the United States Marshal.

           D       as notifred by the Probation or Pretial ServicesOffice.



                                                                   RETURN
I have executedthis judgment as follows:




           Defendant delivered

AI                                                  , with a certified copy of this j udgment.



                                                                                                    LINITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTYUNITEDSTATESMARSIIAL
                          Case 3:04-cr-00351-ADC                 Document 627             Filed 07/06/07          Page 3 of 5
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                                                                                                             Judgment Page       3
DEFENDANT:                     LUIS DE PAULA-CORDERO
CASENUMBER:                    04-CR-3s1(12)(SEC);06-CR-262(01)(DRD);06-CR-263(03XGAG)
                                                          SUPERVISEDRELEASE
Upon releaseffom imprisonment,the defendantshall be on supervisedreleasefor a term of:


                                          THRB,E (3) YEARS to be scrvedconcurrentlywith eachother


     The defendantmusl report to the probation office in the district to which the defendantis releasedwithin 72 hours ofrelease fiom the
cusrooyoI tne bLueauoI _rnsons.
The defendant shall not commit another federal. stat€ or local crime-
The defendaDtshall not ur awirlly possessa controlled substance.The delendantshall refrain fiom any unlau ful useof a conrrolled
substance.The defendantshall subrnit to one drug test within l5 days ofrelease fiom imprisonmentanii at leasl wo pe"oAic arugiirts
thereafter. as determined bv the court.

I          The above drug testing condition is suspended,based on the court's determination that the defendant poses a low dsk of
           future substanceabuse. (Check, ifapplicable.)

X          The defendantshall not possessa firearr! ammunition,destructivedevice, or any other dang€rousweapon. (Check, ifapplicable.)

X          The defendantshall cooperatein the collection ofDNA as directedby the probation officer. (Check, ifapplicable.)

E          The defendantshall registerwith the statesex offender registation agencyin the statewhere the defendantresides,works. or is a
           student,as dirccted by the probation officer. (Check, if applicable.)

!          The defendantshall participatein an approvedprogram for domesticviolence. (Check, ifapplicable.)

^,  Ifthisj*dgment imposestfine or testitution, it is a condition ofsupervised releasethat the defendantpay in accordancewith the
ScheduleofPayments sheetofthis judgmenl.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attachedpage.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)     the defendantshall not leave thejudicial district without the permissionof the court or probation offrcer;
     2)'    the defendant shall report to the probation offrcer and shall submit a truthful and complete wdtten report within the frst five days of
            eachmonth;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant sball support his or her dependents and meet other family responsibilities;
     5)-    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, haining, or other
            acceDtablereasons:
     6)     the defendant shall noti$ the probation ollicer at least ten days pnor to any change in residence or employment;
     7)     the defendantshall refrain from excessiveuse ofalcohol and shall not puchase. possess.use. distribute. or administeranv
            controlledsubstance  or any paraphernaliarelatedto any controlledsubitances.eicept asprescribedby a physician;
     8)     the defendantshall not frequentplaceswhere controlled substancesare illegally sold, used, distributed,or administered;
     9)     lhe defendantshallnot associate
                                          with.anypersonsengagedin criminalactivityand shallnor associalewirh any personconvictedof a
            rerony,uruessgranteopefirusstonro do so by rhe probanon o lcer;
    I 0)    the defendantshall peJrrula.probation omcer to visit him or her at any time at home or elsewhereand shall permil conllscationo f any
            conraDanooDserveom Dlamvlew oI tlle Drobatronollrcer:
    I 1)    fhe defendantshall noti$ the probation oflicer within seventy-twohous ofbeing arrestedor questionedby a law enlbrcementofficer;
    l2)     the defendantshall not enler into any agreementto act as an informer or a specralagenl of a law enforcementagency without the
            Denrusslonol tne coun: an(l
    l3)     as directedby the probation officer, the defendantshall notify third Dartiesofrisks that may be occasionedbv the defendanr'scriminal
            rec^ord,
                   or personal history or characteristicsand shall penirit the probation officer to make such notific6lions and to confirm rhe
            detendants compllancewrth such Dotllrcatronrequlrement.
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AO 2458   (Rev.06/05)Judgmentin a CdminalCase
          Sheet3A Supervised  Release
                                                                                     Judgmenl-Page   ___l_   of
DEFENDANT:             LUIS DE PAULA-CORDERO
CASENUMBER:            04-CR-351(12)(SEC);
                                        o6-CR-262(0l)(oRD);06-CR-263(O3XGAG)

                                ADDITIONAL SUPERVISEDRELEASE TERMS

1. The defendantshall not commit anotherFederal,state,or local crime, and shall observethe standardconditions
of supervisedreleaserecommendedby the United StatesSentencingCommission and adoptedby this Court.


2. The defendantshall not unlawfullv possesscontrolled substances.


3. The defendantshall refrgin from possessingfirelrms, destructivedevices,and othcr dangcrouswcapons.

4. If removedby the Bureau of Immigration and CustomsEnforcement,the defendantshall remain outsidethe
United States,and all placessubjectto its jurisdiction unlessprior written permissionto reenteris obtainedfrom the
pertinent legal authoritiesand the defendantnotifies in writing the U.S. Probation Officer of this Court to that
effect.


   If allowed to remain in the United States,you shall adhereto the following specialconditions:


5. The defendantshall cooperatein the the collection ofa DNA sampleas directedby the U.S. ProbationOfficer,
pursuantto the RevisedDNA Collection Requirements,and Title 18, U.S. Code 3563 (a)(9).
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                             in a CriminalCase                  Document 627                    Filed 07/06/07           Page 5 of 5
            Sheet5 CriminalMonetaryPenalties
                                                                                                            Judgmenl -    Page ___l_    of
DEFENDANT:                        LUIS DE PAULA-CORDERO
CASENTIMBER:                      04-CR-351(12XSEC);      (0l)@nD); 06-CR-263
                                                  06-CR-262                 (O3XGAG)
                                              CRJMINAL MONETARY PENALTIES
      The def€ndant must pay the total criminal monetary penalties under the schedule of palments on Sheet 6.


                     Assessment                                              Fine                                  R€stitution
TOTALS             $ 300.00                                                $ 0


!     The determination of restitution is deferred until                   An Amended Judgment in a Ciminal Case(AO 245C) will be entered
      aft er such determination.

E     The defendant must make restitution (including comrnrurity restitution) to the following payees in the amount listed below.

      If the defendantmakesa panial payment.eachpayeeshall receivean approximatelyproportionedpaynent. unJesssoecified       otherwisein
                           percentagepa).'mentcolurnn below. However. pursuatrtto l8l-l.S.C. g 3664C).'all nonfederal'victimsmusr be paid
      lhtpllgttq  9t9.t,9l
      belore tne unted states rs Dard.

Name of Pav€e                                 Total Loss*                           Restitution Ordered                        Prioritv or Perc€ntage




TOTALS


tr    Restitution amount ordered pursuant to plea agre€ment $

F-l   The defendantmust pay intereston restitution and a fine of more than $2,500,unlessthe restitution or fine is paid in fulI before the
      fifteenth day after the date ofthejudgment, pursuantto l8 U.S.C. $ 3612(f). All ofthe payment options on Sheet6 naybe subject
      to penaltiesfor delinquencyand default, pursuantto 18 U.S.C. $ 3612(g).

tr    The coud determined that the defendant does not have the ability to pay interest and it is ordered that:

      E    the interest lequirement is waived for the       n       frne     !   restitutron.

      E    the interest requirement for the      E   hne        n     restitution is modified as follows:



+Findingsfor thetotalamoultoflossesarerequiredunderChapters109A,I 10.I l0A, andI l3A,ofTitle l8 for offenses
                                                                                                           commihedon or after
September 13,1994.butbeforeApril 23, 1996.
